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ATTORNEY FOR PLAINTIFF



                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING                     )
COUNCIL, INC.,                                 )                 11-284
                                                   CASE NO. CV _____________________
                                               )
        Plaintiff,                             )   VERIFIED COMPLAINT AND
                                               )   DEMAND FOR JURY TRIAL
vs.                                            )
                                               )
HAYDEN LAKE RECREATIONAL                       )
WATER AND SEWER DISTRICT,                      )
a political subdivision of the State of Idaho, )
                                               )
        Defendant.                             )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council, Inc. and for a cause of

action against the Defendant Hayden Lake Recreational Water and Sewer District, states and

alleges as follows:

                                   NATURE OF THE ACTION

       1. This is an action brought by the above-named Plaintiff for declaratory judgment,

permanent injunctive relief and damages on the following bases:

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DEMAND FOR JURY TRIAL                                                                KEN NAGY
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               a. Fair Housing Act, 42 U.S.C. §3601 et seq. (hereinafter “FHA”), and in

       particular:

                       i. Refusal to make reasonable accommodations in rules, policies,

               practices, or services, when such accommodations may be necessary to afford

               equal opportunity to use and enjoy a dwelling in violation of 42 U.S.C.

               §3604(f)(3)(B);

                       ii. Discrimination in the sale or rental, or otherwise made unavailable, a

               dwelling because of “handicap” in violation of 42 U.S.C. §3604(f)(1);

                       iii. Discriminatory terms, conditions or privileges in the sale or rental of a

               dwelling because of “handicap” in violation of 42 U.S.C. §3604(f)(2);

                       iv. Making, printing or publishing a notice or statement with respect to

               the sale or rental of a dwelling that indicates a preference, limitation or

               discrimination based on “handicap” in violation of 42 U.S.C. §3604(c); and

                       v. Interference, coercion or intimidation, 42 U.S.C. §3617.

               b. Fair Housing Regulations, 24 C.F.R. §100 et seq.

                                 JURISDICTION AND VENUE

       2. This Court has jurisdiction over this action pursuant to 42 U.S.C. §3613 and

28 U.S.C. §§1331, 1332, 1337, 1343 and 2201. The amount in controversy exceeds $75,000

exclusive of interests and costs. Venue is proper in this District in that the claims alleged herein

arose in the City of Hayden, County of Kootenai, State of Idaho.

                                             PARTIES

       3. The Plaintiff Intermountain Fair Housing Council, Inc. (hereinafter “the Plaintiff” or

“IFHC”) is a private, nonprofit corporation organized under the laws of the State of Idaho with

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its principal place of business at 350 North 9th Street, Suite M-100, Boise, Idaho 83702. Its

mission is to advance equal access to housing for all persons without regard to race, color, sex,

religion, national origin, familial status, or disability (the term “handicap”, as that term is used

and defined in the FHA, is used herein interchangeably with the term “disability”). The Plaintiff

serves housing consumers through, among other things, education on the fair housing laws and

assistance with complaints.

       4. The Defendant Hayden Lake Recreational Water and Sewer District (hereinafter “the

Defendant”), is a political subdivision of the State of Idaho. Its principal place of business is

9393 North Strahorn Road, Hayden, Idaho 83835. The Defendant is a recreational water and

sewer district organized and existing under the laws of the State of Idaho and provides sewer

services to a group home located at 3265 East St. James Avenue, Hayden, Idaho 83815 which is

owned and operated by By the Lake Assisted Living Homes, LLC (hereinafter “By the Lake

facility”), as well as a group home located at 1921 East Hayden View Drive, Coeur d’Alene,

Idaho 83815, which is owned and operated by Haydenview Cottage Assisted Living (hereinafter

“Haydenview Cottage facility”). The By the Lake facility and the Haydenview Cottage facility

are “dwellings”, as that term is defined at 42 U.S.C. §3602(b) and are therefore subject to the

protections and requirements of the FHA.

                                   STANDING OF PLAINTIFF

       5. The Plaintiff has suffered damages as the result of the Defendant’s actions and

omissions, including the diversion of the Plaintiff’s past and future resources, lost economic

opportunity, and the frustration of the Plaintiff’s mission.

       6. The Plaintiff’s mission, as described above, has been frustrated by the Defendant’s

practices because the Defendant’s violations of the FHA communicate to housing consumers and

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housing providers that discriminatory practices are permissible and that correctional remedies are

not available, thereby hampering Plaintiff’s efforts to educate the public on fair housing issues

and to advance equal access to housing.

       7. The Plaintiff’s mission has further been frustrated as the Defendant’s violations of the

FHA have reduced the pool of non-discriminatory rental housing available to tenants in the State

of Idaho.

       8. In order to counteract the frustration of the Plaintiff’s mission, the Plaintiff has had to

devote significant resources to identify, investigate, document and take action to correct the

Defendant’s violations of the FHA, including but not limited to the incursion of litigation

expenses. As a result, the Plaintiff has actually diverted resources from other fair housing-

related activities, including fair housing education and enforcement activities throughout the

State of Idaho and the surrounding region. Furthermore, the Plaintiff will necessarily incur

additional expenses in the future to counteract the lingering effects of the Defendants’ violations

of the FHA through the monitoring of the Defendants’ activities, publication and advertising

costs, and the sponsorship of educational activities.

       9. As a direct result of the Defendant’s actions and omissions as described below, the

Plaintiff is an “aggrieved person”, as that term is defined by the FHA. 42 U.S.C. §3601(i). The

Plaintiff has suffered and continues to suffer significant and irreparable loss and injury, and has

sufficient standing to bring this action before this Court.

                                   GENERAL ALLEGATIONS

       10. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-9 above.



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       11. The By the Lake facility is a 13-bed, privately-owned group home which houses on

average 9-10 elderly residents, all of whom are handicapped, as that term is defined by the Fair

Housing Act at 42 U.S.C. §3602(h). The By the Lake facility is owned by By the Lake Assisted

Living Homes, LLC, which is owned by Larry and Kathleen Chmura (hereinafter “Chmuras”).

The Chmuras hold the title to the real property on which said group home is situated.

       12. The By the Lake facility was constructed in 1996. The building permit, on which the

Defendant signed off, acknowledges that the occupancy load for the facility was 17. Similarly,

the certificate of occupancy issued in February of 1997 acknowledges that occupancy load and

classifies the facility as a single family residence. Since 1997, the property has operated as a

group home for handicapped adults, mostly the elderly suffering from various forms of dementia.

       13. The By the Lake facility was purchased in 2006 by By the Lake Assisted Living

Homes, LLC and continued its operation as a group home.

       14. At the time the Defendant signed off on the building permit for the By the Lake

facility in 1996, it assigned the use as single-family and elected to charge a capitalization fee and

O&M rates identical to other single family residential users. The permit to hook up to the sewer

system reserved to the Defendant the right to reevaluate actual sewer usage in one year and

assess additional capitalization fees and O&M rates if warranted. The Defendant made no

adjustments to said fees and charges between 1997 to 2010.

       15. The Haydenview Cottage facility is an 8-bed, privately-owned group home which

currently houses 6 elderly residents, all of whom are handicapped, as that term is defined by the

Fair Housing Act at 42 U.S.C. §3602(h). The Haydenview Cottage facility is owned by

Haydenview Cottage, LLC, which is owned by Rebecca Nixon and her husband, Joseph Skala.



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Title to the real property on which the Haydenview Cottage facility operates its group home is

vested in Rebecca Nixon.

       16. The Haydenview Cottage facility was constructed as a single-family residence some

time before 1990. However, since the mid-1990s, the property has been a group home for

handicapped adults, mostly the elderly suffering from various forms of dementia. The

Haydenview Cottage facility was purchased in March of 2005 by Haydenview Cottage, LLC and

continued its operation as a group home.

       17. Since the time the Haydenview Cottage facility began to operate as a group home, it

was assessed sewer fees and rates by the Defendant as a single-family residence, in compliance

with Idaho law, which defines a “single family dwelling” as “any home in which eight (8) or

fewer unrelated mentally and/or physically handicapped or elderly persons reside.” Idaho Code

§67-6531.

       18. By the Lake Assisted Living Homes, LLC received a letter dated the 29th day of

March, 2010 (copy attached hereto as “Exhibit A”) from the Defendant’s attorney which

indicated that the By the Lake facility would be regarded as a “commercial use” and that its

sewer rates would be greatly increased by applying the calculation “attributed to substantially

similar facilities, i.e., a nursing home or a hospital.” As a result, the Defendant demanded an

additional capitalization fee of $66,600 and advised that the By the Lake facility’s sewer rates

(monthly O&M charges) were being increased 7.4 times higher than other single family

residences. The Defendant also imposed back charges in the amount of $7,992.00 for past O&M

fees, for a total owing to the Defendant of $74,592.00.

       19. The Haydenview Cottage facility also received a letter dated the 29th day of March,

2010 from the Defendant’s attorney which indicated that the Defendant regards the Haydenview

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Cottage facility as a “commercial use” and that its water and sewer rates would be greatly

increased by applying the calculation “attributed to substantially similar facilities, i.e., a nursing

home or a hospital.” As a result, the Defendant demanded an additional capitalization fee of

$41,400 and advised that the Haydenview Cottage facility ’s sewer rates (monthly O&M

charges) were being increased 4.6 times higher than other single family residences. The

Respondent also imposed back charges in the amount of $6,624.00 for past O&M fees, for a total

owing to the Defendant of $48,024.00.

       20. The letters from Defendant’s attorney to the By the Lake facility and the

Haydenview Cottage facility referenced above demanding payment of additional capitalization

and O&M charges and threatening legal action, including possible foreclosure, if payment was

not forthcoming was the first notice that said facilities received that indicated that the Defendant

was even considering adjusting their sewer rates.

       21. Similar demand letters from the Defendant were contemporaneously sent to other

group home facilities. The Defendant has singled-out group homes for such treatment, stating

that the Defendant was taking such action because it had “recently conducted a review of all

licensed assisted care facilities within the boundaries of the District.” The Defendant has not

similarly considered sewer rates with regards to owner occupied single family residences or

single family residences rented to others for profit.

       22. In imposing the above-described fees on the two facilities at issue, the Defendant

understood that the economics of providing housing for disabled individuals funded largely by

Medicaid would force the two victims and others facilities similarly situated out of business.

       23. The imposition of such fees constitutes disparate treatment on the basis of

“handicap” and has a disparate impact on handicapped persons, in violation of the Fair Housing

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Act. 42 U.S.C. §3604(f). Threatening the two victims listed herein with legal action and

possible loss of its facility constitutes “interference, coercion or intimidation” in violation of the

Fair Housing Act. 42 U.S.C. §3617.

       24. The Defendant’s demands for additional fees are inconsistent with the applicable

local ordinance which allows for adjustments of capitalization fees and O&M charges only when

the property has undergone a “substantial change” in use. Ord. No. 89-2. The Defendant has

ignored repeated requests from the two victims through their legal counsel that it identify what

“substantial change” in use occurred given that the two facilities at issue herein have been

operated as group homes for a significant period of time with similar numbers of residents.

       25. By singling out group homes for such scrutiny and treatment, the Defendant has also

violated Idaho law, which provides that “[n]o local ordinance or local restrictions shall be

applied to or required for a residential facility which serves eight (8) or fewer mentally and/or

physically handicapped or elderly persons and is supervised as required in section 67-6531,

Idaho Code, which is not applied to or required for a single family dwelling in the same zone.”

I.C. §67-6532.

       26. In response to the above-described actions of the Defendant, both the By the Lake

facility and the Haydenview Cottage facility requested reasonable accommodations dated the 8th

day of June, 2010 pursuant to the FHA from the Defendant that their group homes be treated as

single family residences for purposes of assessing sewer charges.

       27. The Defendant refused to grant the two facilities’ reasonable accommodation

requests by letters dated the 6th day of July 2010 and the 26th day of August, 2010. Instead, the

Respondent filed a Petition for Declaratory Judgment in Idaho state court on the 21st day of

September, 2010 against the two facilities at issue herein and other related parties. The filing of

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a lawsuit against the two victims listed herein also constitutes “interference, coercion or

intimidation” in violation of the FHA. 42 U.S.C. §3617.

       28. As the result of the Defendant’s actions as described above, both the By the Lake

facility and the Haydenview Cottage facility made complaints to the Plaintiff. The Plaintiff has

provided extensive counseling to the two facilities at issue herein, has investigated their

complaints and has determined that the Defendant has violated the facilities’ and their residents’

fair housing rights.

       29. As a direct consequence of the violations in which the Defendant has engaged, the

two facilities at issue herein and their owners have suffered embarrassment, humiliation,

inconvenience and emotional distress.

       30. As a direct consequence of the complaints that were filed by the By the Lake facility

and the Haydenview Cottage facility, the Plaintiff has suffered significant and irreparable loss

and injury.

              COUNT ONE—DISCRIMINATION ON THE BASIS OF “HANDICAP”

       31. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-30 above.

       32. The Defendant has refused to make reasonable accommodations in rules, policies,

practices, or services, when such accommodations may be necessary to afford equal opportunity

to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B). Such conduct is willful and intentional,

and exhibits reckless disregard for the civil rights of the individuals at issue herein.

       33. The Defendant has discriminated in the sale or rental of, and otherwise made

unavailable and denied, a dwelling on the basis of “handicap”. 42 U.S.C. §3604(f)(1). Such



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conduct is willful and intentional, and exhibits reckless disregard for the civil rights of the

individuals at issue herein.

          34. The Defendant has discriminated in the terms, conditions and privileges of the sale or

rental of a dwelling, and the services and facilities in connection therewith, on the basis of

“handicap”. 42 U.S.C. §3604(f)(2). Such conduct is willful and intentional, and exhibits

reckless or callous indifference for the rights of the individuals at issue herein.

                 COUNT TWO—DISCRIMINATORY NOTICE OR STATEMENT

          35. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-34 above.

          36. The Defendant has made, print or published a notice or statement with respect to the

sale or rental of a dwelling that indicates a preference, limitation and discrimination on the basis

of “handicap”. 42 U.S.C. §3604(c). Such conduct is willful and intentional, and exhibits

reckless or callous indifference for civil rights of the individuals at issue herein.

              COUNT THREE—INTERFERENCE, COERCION OR INTIMIDATION

          37. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-36 above.

          38. The Defendant has engaged in coercion, intimidation or interference in the exercise

or enjoyment of rights granted by 42 U.S.C. §§3603 and 3604. Such conduct is willful and

intentional, and exhibits reckless or callous indifference for the rights of the individuals at issue

herein.

                                             DAMAGES

          39. The Plaintiff realleges and herein incorporates by reference the allegations set forth

in Paragraphs 1-38 above.

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         40. As the result of the actions and conduct of the Defendant, as described above, the

Plaintiff has suffered significant and irreparable loss and injury.

         41. The Plaintiff is an “aggrieved person[s]”, as defined in 42 U.S.C. §3601(i), and is an

intended beneficiary of the protections and requirements of the statutes, laws and regulations

referenced above.

         42. The Plaintiff has suffered actual damages as a result of its out-of-pocket expenses

and past diversion of its resources, as described above and in the attached “Appendix A”, in the

amount of $9,511.06, which continue to accrue.

         43. The Plaintiff has suffered actual damages as a result of the future diversion of its

resources, as described above and in the attached “Appendix A”, in the amount of $5,500.00.

         44. The Plaintiff has suffered actual damages as a result of lost economic opportunity, as

described above and in the attached “Appendix A”, in the amount of $1,000.00.

         45. The Plaintiff has suffered actual damages as a result of the frustration of its mission,

as described above and in the attached “Appendix A”, in the amount of $5,757.63.

         46. In addition to the injuries suffered by the Plaintiff, the Defendant has also caused

significant and irreparable loss and injury to a number of identified and as-of-yet unidentified

persons, including the By the Lake facility and the Haydenview Cottage facility, as described

above.

         47. Said identified and as-of-yet unidentified victims are “aggrieved person[s]”, as

defined in 42 U.S.C. §3601(i), and are intended beneficiaries of the protections and requirements

of the statutes, laws and regulations referenced above.

         48. All victims of the Defendant’s actions and conduct should be identified and

compensated through a Victims’ Compensation Fund.

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       49. A Victims’ Compensation Fund should be established in the amount to be

determined to compensate identified and as-of-yet unidentified victims of the Defendant’s

discriminatory conduct from which such victims should be compensated.

       50. Said Victims’ Compensation Fund should be established and administered as

follows:

             a. The Plaintiff shall be assigned the task of managing and administering the

                Victims’ Compensation Fund. The Plaintiff shall be compensated for all time

                spent administering said Fund at the rate of $45.88 per hour. The Plaintiff shall

                keep detailed records of all tasks engaged in and shall submit copies of said

                records to the Court and the Defendant on a monthly basis.

             b. Within thirty (30) days of the entry of an order by this Court creating a Victims’

                Compensation Fund, the Defendant shall deposit in an interest-bearing escrow

                account the total sum as determined by applying the calculation set forth in the

                attached Appendix B.

             c. Any interest accruing to such Victims’ Compensation Fund shall become a part of

                the fund and be utilized as set forth herein.

             d. Within fifteen (15) days after the Defendant deposit funds in the Victims’

                Compensation Fund, the Plaintiff shall publish a Notice to Potential Victims of

                Housing Discrimination (hereinafter “Notice”) in at least five daily newspapers

                serving the main population centers of the State of Idaho informing readers of the

                availability of compensatory funds. The form and content of the Notice shall be

                approved by the Court at the time of the entry of the Court’s order establishing the

                Victims’ Compensation Fund. The Notice shall be no smaller than three columns

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          by six inches and shall be published on three occasions in each newspaper. The

          publication dates shall be separated from one another by at least 21 days, and at

          least two of the publication dates shall be a Sunday. The Plaintiff shall send a

          copy of the Notice prior to each and every publication date to each of the

          following organizations: (1) Living Independent Network Corp. (LINC), 2500

          Kootenai Street, Boise, Idaho 83705; (2) Co-Ad, Inc., 4477 Emerald Street, Suite

          B-100, Boise, Idaho 83706; Disability Action Center, 124 East Third Street,

          Moscow, Idaho 83843; and (4) Living Independently for Everyone (LIFE), P.O.

          Box 4185, 640 Pershing Avenue, Suite 7, Pocatello, Idaho 83201.

       e. Within thirty (30) days of the entry of an order by this Court creating a Victims’

          Compensation Fund, the Plaintiff shall send by first-class mail, postage prepaid, a

          copy of the Notice to each tenant who currently resides or who resided at any time

          at the subject property.

       f. Nothing in this section shall preclude the Plaintiff from making its own additional

          efforts at its own expense to locate and provide notice to potentially aggrieved

          persons.

       g. Allegedly aggrieved persons shall have one hundred-twenty (120) days from the

          date of the entry of an order by this Court creating a Victims’ Compensation Fund

          to contact the Plaintiff in response to the Notice. The Plaintiff shall investigate

          the claims of allegedly aggrieved persons and, within one hundred-eighty (180)

          days from the entry of an order by this Court creating a Victims’ Compensation

          Fund, shall make a preliminary determination of which persons are aggrieved and

          an appropriate amount of damages that should be paid to each such persons. The

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          Plaintiff will inform the Defendant in writing of its preliminary determinations,

          together with a copy of a sworn declaration from each aggrieved person setting

          forth the factual basis of the claim. The Defendant shall have fourteen (14) days

          to review the declaration and to provide to the Plaintiff any documents or

          information that it believes may refute the claim.

       h. After receiving the Defendant’s refutation, if any, the Plaintiff shall submit its

          final recommendations to the Court for approval, together with a copy of the

          declarations and any additional information submitted by the Defendant. When

          the Court issues an order approving or changing the Plaintiff’s proposed

          distribution of funds for aggrieved persons, the Defendants shall, within ten (10)

          days of the Court’s order, deliver to the Plaintiff checks payable to the aggrieved

          persons in the amounts approved by the Court. In no event shall the aggregate of

          all such checks exceed the sum of the Victims’ Compensation Fund, including

          accrued interest and after deducting compensation to the Plaintiff as described

          above. No aggrieved persons shall be paid until he or she has executed and

          delivered to counsel for the Plaintiff a signed and notarized statement releasing

          the Defendant from all claims related to the subject property.

       i. In the event that less than the total amount in the fund including interest is

          distributed to aggrieved persons, the remaining funds shall be submitted to an

          education fund to be drawn upon by the Plaintiff and other non-profit

          organizations for purposes of educating housing consumers and providers on the

          requirements of the Fair Housing Act. Said education fund shall be administered

          by Idaho Legal Aid Services, Inc..

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             j. The Defendant shall permit the Plaintiff, upon reasonable notice, to review any

                records that may facilitate its determinations regarding the claims of allegedly

                aggrieved persons.

       51. The Court should award to the Plaintiff and against the Defendant punitive damages

due to the intentional, willful and reckless nature of the Defendant’s conduct in an amount to be

determined.

       52. The Court should enjoin the Defendant, its officers, employees, agents, successors,

and all other persons in active concert or participation with said Defendant, from failing or

refusing to comply with all requirements of the FHA and its implementing regulations.

       53. The Court should award to the Plaintiff and against the Defendant reasonable

attorney’s fees and costs incurred in this action, as provided for by statute and court rule.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff Intermountain Fair Housing Council prays that the Court

enter judgment against the Defendant as follows:

       A. That the Court find and declare that the actions of the Defendant constitute violations

of the Fair Housing Act;

       B. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for its out-of-pocket expenses and past diversion of resources in the amount of

$9,511.06, which continue to accrue;

       C. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the necessary future diversion of the Plaintiff’s resources in the amount of

$5,500.00;



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         D. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the Plaintiff’s lost economic opportunity in the amount of $1,000.00;

         E. That the Court award to the Plaintiff and against the Defendant actual damages in

compensation for the frustration of the Plaintiff’s mission in the amount of $5,757.63;

         F. That the Court enter an order establishing a Victims’ Compensation Fund in an

amount to be determined and to be administered according to the terms set forth in Paragraph 50

above;

         G. That the Court award to the Plaintiff and against the Defendant punitive damages due

to the reckless or callous nature of the Defendant’s conduct in an amount to be determined;

         H. That the Court enjoin the Defendant, its officers, employees, agents, successors, and

all other persons in active concert or participation with said Defendant, from failing or refusing

to comply with all requirements of the FHA and its implementing regulations;

         I. That the Court award to the Plaintiff and against the Defendant reasonable attorney’s

fees and costs incurred in this action;

         J. That the Court order any further and additional relief as the interests of justice may

require.

                                          JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiff demands a

trial by jury on all issues.
                     17th                 June
         DATED this _______ day of ___________________________, 2011.



                                                               /s/
                                               __________________________________________
                                               KEN NAGY
                                               ATTORNEY FOR PLAINTIFF

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                                                                                         Attorney at Law
                                                                                         Lewiston, Idaho
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       RICHARD MABBUTT, being first duly sworn on his oath, deposes and says:

        I am the Executive Director of the Intermountain Fair Housing Council, Inc., the Plaintiff
herein, that I have read the foregoing document, know well the contents thereof, and that the
facts therein stated are true to the best of my knowledge and belief.


                                                              /s/
                                             __________________________________________
                                             RICHARD MABBUTT


STATE OF I D A H O    )
                      : ss
           Latah
County of ___________ )
                          Ken Nagy
                I, __________________________________________, a Notary Public for said
                                        14th day of ______________________________,
state, does hereby certify that on the _______           June                               2011,
personally appeared before me RICHARD MABBUTT, Executive Director of the Intermountain
Fair Housing Council, Inc., who, being by me first duly sworn, declared that he signed the
foregoing document as such, and that the statements therein contained are true and accurate as he
verily believes.

       SEAL
    Ken Nagy                                                   /s/
                                             __________________________________________
   Notary Public                                                                    Idaho
                                             Notary Public in and for the State of ____________
  State of Idaho                                            Genesee,      Idaho
                                             Residing at: _______________________________
                                                                         8/31/13
                                             My commission expires: _____________________




VERIFIED COMPLAINT AND                      17
DEMAND FOR JURY TRIAL                                                                   KEN NAGY
                                                                                      Attorney at Law
                                                                                      Lewiston, Idaho
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                                           APPENDIX A:

                       PLAINTIFF’S MEMORANDUM OF DAMAGES


        The Plaintiff has identified four categories of damages that it has suffered as the result of

the Defendant’s failure to comply with the FHA. These categories are: (1) Past Diversion of

Resources; (2) Future Diversion of Resources; (3) Lost Economic Opportunity; and (4)

Frustration of Mission. Each of these categories of damages have been recognized and awarded

by various courts to organizational plaintiffs in previous fair housing cases. 1

        The following represents an itemization of the Plaintiff’s damages:

        1. Out-of-Pocket Expenses and Past Diversion of Resources

        The Plaintiff has incurred significant pre-litigation expenses as a result of the Defendant’s

    discriminatory actions, which are constituted by its out-of-pocket expenses and its past

    diversion of resources. The Plaintiff has sponsored training workshops in the Defendant’s

    geographic area, and has engaged in site monitoring, investigation, complaint preparation,



        1
         See, Southern Cal. Housing Rights Center v. Krug, 564 F.Supp.2d 1138 (Cent. Dist. Cal.
2007) (fair housing organization awarded $6,590.80 for diversion of resources and $29,065.32
for frustration of mission), Fair Housing of Marin v. Combs, 285 F.3d 899 (9th Cir. 2002) (fair
housing organization awarded $14,217.00 for the diversion of resources); HUD v. Perland, Fair
Housing-Fair Lending Rptr. ¶25,136 (HUD ALJ 1998) (fair housing organization awarded
$4,516 for the diversion of resources and $1,400 for the costs of future monitoring of the
defendants); Ragin v. Harry Macklowe Real Estate Co., 801 F.Supp. 1213, aff’d in pertinent
part, 908 F.3d 898 (2nd Cir. 1993) (fair housing organization awarded $20,000 for the diversion
of resources); HUD v. Jancik, Fair Housing-Fair Lending Rptr. ¶25,058 (HUD ALJ 1993) (fair
housing organization awarded $13,386 for the diversion of past and future resources and $9,000
for the financial opportunity lost as a result of the investigation and litigation of the case); City of
Chicago v. Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086 (7th Cir. 1992) (fair
housing organization awarded $16,500 for out-of-pocket expenses and costs of future monitoring
and training); Saunders v. General Services Corp., 659 F.Supp. 1042 (E.D. Va. 1987) (fair
housing organization awarded $2,300 for the diversion of resources and $10,000 for the
frustration of its equal housing mission).

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   counseling and other activities with regards to this matter. As a result of these activities, it

   has incurred expenses as follows:

       a. Investigation and Counseling Costs:                                  $1,595.43

       b. Educational Efforts:                                                 $3,162.20

       c. Attorney’s Fees and Costs (to date):                                 $3,158.00

       d. Cost of Deferred Actions:                                            $1,593.43

                                       Total Past Diversion of Resources:      $9,511.06
       Further litigation of these matters will result in an increase in the Plaintiff’s diversion of

resources, as well as other damages.

       2. Future Diversion of Resources

       The Plaintiff has an affirmative duty to ensure the Defendant’s ongoing compliance with

the FHA, with regards to both the subject property as well as any future developments in which

the Defendant may participate. Such monitoring activities include site visits, training of

Defendant and its employees and agents, counseling of victims, and testing.

       The Plaintiff expects to incur the following expenses as a result of the current violations:

       a. Future Advertising Costs:                                            $2,500.00

       b. Cost of Future Training:                                             $2,500.00

       c. Costs of Future Monitoring/Testing:                                    $500.00

                               Total Future Diversion of Resources:            $5,500.00

       3. Lost Economic Opportunity

       Vigorous investigation and enforcement of fair housing complaints, including the

property at issue herein, has caused the Plaintiff to divert limited resources and manpower away

from grant-writing activities. The Plaintiff could reasonably expect to have obtained funding to


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sponsor fair housing training events in the amount of $1,000.00 if it had not been so diverted due

to the Defendant’s actions

       a. Loss of Funding:                                                    $1,000.00

       4. Frustration of Mission

       The investigation of the subject of this complaint, the counseling and training provided to

the community, and the preparation of the administrative complaint have caused the Plaintiff to

divert significant resources toward this proceeding and has undermined the work of furthering

fair housing in the state of Idaho.

       As a direct result of the Defendant’s discriminatory actions, the Plaintiff’s mission of

furthering fair housing has been significantly frustrated, and the Plaintiff has had to devote, and

will continue to devote, additional resources in order to counteract the past and ongoing effects

of this discrimination.

       Furthermore, the property at issue in this proceeding has constituted a formidable barrier

to non-discriminatory housing, thereby undermining the mission of the Plaintiff in guaranteeing

fair housing to all residents of the state. The Plaintiff has determined that it will be necessary to

educate housing consumers regarding fair housing requirements in order to counteract the effects

of the Defendant’s failure to comply with the FHA.

       The Plaintiff measures the damage to its frustration as the total monetary damages that

the Defendants’ actions have cost to correct, including lost funding opportunities.

       a. Frustration of Mission                                              $5,757.63

                                       TOTAL DAMAGES

       The Council calculates its total damages in this proceeding as follows:

       1. Out-of Pocket Expenses and Past Diversion of Resources:             $9,511.06

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     2. Future Diversion of Resources:                         $5,500.00

     3. Lost Economic Opportunity:                             $1,000.00

     4. Frustration of Mission:                                $5,757.63

                                              Total Damages:   $21,768.69




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DEMAND FOR JURY TRIAL                                                         KEN NAGY
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                                                                            Lewiston, Idaho
